  Case 2:20-cr-00060-JLS Document 5 Filed 01/31/20 Page 1 of 1 Page ID #:12




                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

 UNITED STATES OF AMERICA,                           CASE NUMBER
                                PLAINTIFF
                                                     CR No. 20-00060-JFW
                        v.
 STEPHEN WILLIAM BEAL,
                                                              NOTICE TO COURT OF
                                DEFENDANT(S)                RELATED CRIMINAL CASE

                                                     (PURSUANT TO GENERAL ORDER 14-03)


       Plaintiff United States of America hereby informs the Court that the above-entitled

criminal case may be related to United States v. Stephen William Beal, Case No. SA CR 19-47-

JLS, which:

          X        was previously assigned to the Honorable Josephine L. Staton;

                   has not been previously assigned.

The above-entitled cases may be related for the following reasons:

                   the cases arise out of the same conspiracy, common scheme, transaction,
                   series of transactions or events;

          X        the cases involve one or more defendants in common and would entail
                   substantial duplication of labor in pretrial, trial or sentencing proceedings if
                   heard by different judges.

       Additional explanation (if any): The government believes that there will likely be
substantial issues relating to defendant’s mental health that will need to be decided in each case.

 Dated: January 30, 2020

                                                       MARK TAKLA
                                                       Assistant United States Attorney
